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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                      Case No. 0:24-cr-00072
                   Plaintiff,
                                                      UNITED STATES’ RESPONSE TO
                   v.                                 DEFENDANT JERRY HAL
                                                      SALITERMAN’S MOTION TO
 JERRY HAL SALITERMAN,                                CONTINUE DATES SPECIFIED IN
                                                      THE AMENDED ARRAIGNMENT
                   Defendant.                         NOTICE AND SCHEDULING ORDER
                                                      (Doc. 28)

       The United States of America, by Mac Schneider, United States Attorney for the

District of North Dakota, and Matthew D. Greenley, Assistant United States Attorney,

respectfully submits this response to the Defendant’s request for a continuance until “well

into 2025.” As noted in the Defendant’s motion, the United States does not object to a trial

date set within calendar year 2024. The United States requests that the Court grant the

Defendant’s motion in part, and set a trial date no later than the end of January, or six

months from now, absent compelling reasons that would permit the Court to make findings

that justify a longer continuance.

       The Defendant moves for a continuance of the Speedy Trial Act deadline under 18

U.S.C. § 3161(h)(7)(B)(ii), which provides that the Court may grant a continuance on the

basis of the ends of justice served by the continuance outweighs the best interest of the

public and the Defendant in a speedy trial. “Continuances generally are not favored and

should be granted only when the party requesting one has shown a compelling reason.”

United States v. Keepseagle, 30 F.4th 802, 815 (8th Cir. 2022). The Defendant primarily
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seeks a continuance for the review of discovery. 1 The Defendant received most of the

government’s disclosures by March 29, 2024 (Doc. 20 at 3).

       The Speedy Trial Act requires that trial begin within 70 days after a defendant is

charged or makes an initial appearance, whichever is later. 18 U.S.C. § 3161(c)(1). The

“Act recognizes that criminal cases vary widely and that there are valid reasons for

greater delay in particular cases.” Zedner v. United States, 547 U.S. 489, 497 (2006).

Section 3161(h) lists periods of delay that are excluded in computing time within trial

must start “to provide the necessary flexibility” in criminal cases. Id.

       The factors a judge considers include “whether the case is so unusual or so

complex . . . that it is unreasonable to expect adequate preparation for pretrial

proceedings or the trial itself within the time limits established” and if the trial is not

novel or complex, whether failure to grant a continuance “would deny counsel for the

defendant or the attorney for the Government the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence.”

18 U.S.C. § 3161(h)(7)(B)(ii); (iv).

       Here, the United States provided complete discovery involving a seven-year

investigation of numerous targets involved in the theft and extortion of the ruby slippers.

While the government’s theory is not complex, and it only involves one Defendant, there

is a substantial amount of evidence of the Defendant’s role which was gathered over a

seven-year period. However, “[e]ven when a case is undisputedly complex, complexity


1
  The Defendant states the discovery is not searchable, however, the USAO will provide
“load files” upon request—in addition to the image files already provided—so that the
Defendant can search the discovery using a document review platform.
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per se is not an excuse for an indefinite delay or a means of circumventing the

requirements of the Speedy Trial Act.” United States v. Pikus, 39 F.4th 39, 54 (2d 2022).

“The length of an exclusion for complexity must be not only limited in time, but also

reasonably related to the actual needs of the case.” Id. A delay approaching a year may

meet the threshold for presumptively prejudicial delay requiring application of the Barker

factors. United States v. Shepard, 462 F.3d 847, 864 (8th Cir. 2006) (referring to the four-

factor balancing test to evaluate a Sixth Amendment claim for pretrial delay under Barker

v. Wingo, 407 U.S. 514, 530 (1972)). The Eighth Circuit has not addressed whether ends-

of-justice continuances granted under § 3161(h)(7) may be open ended. United States v.

Grady, 88 F.4th 1246, 1256 (8th 2023).

       While the United States acknowledges the time demands placed on the Defendant,

as well as the Defendant’s Sixth Amendment right to competent representation, there are

countervailing interests in this case to a long continuance. In addition to the public’s

right to a speedy trial, one potential trial witness, Terry Jon Martin, 2 is in poor health and

may become unavailable due to health concerns. Mr. Martin’s PSIR noted that he

qualified for Hospice care, requires 24-hour oxygen, and near-constant assistance. If Mr.

Martin is not available for trial, the United States would be prejudiced by the inability to

call Mr. Martin. The United States believes Mr. Martin colluded with the Defendant and

either provided the ruby slippers to the Defendant or helped the Defendant acquire the




2
 Mr. Martin plead guilty to theft of major artwork, 18 U.S.C. § 668, in a related case,
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ruby slippers. Nonetheless, the United States will be prepared for trial whether Mr.

Martin is available or not.

       In addition to Mr. Martin’s precarious health, Count Two of the Indictment

involves a charge of witness tampering against an individual who is a victim of alleged

sex extortion. The Crime Victim’s Rights Act provides that victims have a right to

proceedings free from unreasonable delay. 18 U. S.C. § 3771(a)(7). United States

requests a reasonable limit on the requested continuance to balance the Defendant’s need

for a continuance against the victim’s interest in a resolution to this case.

       For the foregoing reasons, the United States respectfully requests the Court grant

the Defendant’s motion in part, and set a trial date no later than January 30, 2024.

       Dated: July 26, 2024

                                           MAC SCHNEIDER
                                           United States Attorney


                                    By:    ____________________________
                                           /s/ Matthew D. Greenley
                                           MATTHEW D. GREENLEY
                                           Assistant United States Attorney
                                           Acting Under Authority Conferred by 28 U.S.C. § 515
                                           MN Bar ID 034252X
                                           655 First Avenue North, Suite 250
                                           Fargo, ND 58102-4932
                                           (701) 297-7400
                                           matthew.greenley@usdoj.gov
                                           Attorney for United States




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